Oo Oo NY DO WO F&F YD NO

NO NYO NO NO WN NO NO NN NO He Fe He HF Fe FEF Oe OOO Eee el
ao NBN NW Pe Ww Ne KF CO Oo ONT DRO TH BP Ww NY KF SO

 

 

Case 2:20-cv-02099-TLN-AC Document 31 Filed 08/20/21 Page 1 of 4

Joshua Thomas Esq. (Pro Hac Vice)
Joshua LThomas ail.com
LAW OFFICES JOSHUA L. THOMAS, PLLC

 

 

225 Wilmington-West Chester Pike, Suite 200
Chadds Ford, PA 19317
(215) 806-1733
Attorneys for Defendant
ZIP CAPITAL GROUP, LLC
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA
GAVIN MEHL, CASE NO. 2:20-cv-02099-TLN-AC
Plaintiff, STIPULATION FOR DISMISSAL
WITH PREJUDICE
V.
ZIP CAPITAL GROUP, LLC,
Defendant.
AND RELATED COUNTER-
ACTION
Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, it is
hereby stipulated and jointly requested by the parties to this case, through their

respective counsel, that that the above-entitled actions shall be dismissed in their
entirety, with prejudice. Each party shall bear its own costs and expenses.

///

///

///

///

///

{00156934;1} 1
STIPULATION FOR DISMISSAL WITH PREJUDICE
CASE NO. 2:20-cv-02099-TLN-AC

 
So A JN HN Wn FP WY NY Ke

NO NO NO WN WN HN NHN NHN NO KH BH HF He Fe FF ee OO ee eee
ao NBN NW SP WD NF CO OO WON BDO An Be WY NY KF CO

 

 

Case 2:20-cv-02099-TLN-AC Document 31 Filed 08/20/21 Page 2 of 4

IT IS SO STIPULATED.

DATED: August 20, 2021 By: _s/Joshua L. Thomas

Joshua L. Thomas

Law Offices of Joshua L. Thomas, PLLC
Attorneys for Defendant

ZIP CAPITAL GROUP, LLC

DATED: August 20, 2021 By: _s/Gavin Mehl Gavin: Mehl,

{00156934;1}

 

Gavin Mehl
Plaintiff in Pro Per

STIPULATION FOR DISMISSAL WITH PREJUDICE
CASE NO. 2:20-cv-02099-TLN-AC

 
Co moO NY Hn FP WO NOK

Oo NO NO NH WN WN N HN NO Re RR Re He ere Ree Re
oN BN NN Pe OW NF OO ON HK nH ee Ww NY KF O&O

 

 

Case 2:20-cv-02099-TLN-AC Document 31 Filed 08/20/21 Page 3 of 4

SIGNATURE CERTIFICATION
I hereby certify that the content of this document is acceptable to Plaintiff,
and that I have obtained Plaintiff's authorization to affix his electronic signature to

this document.

DATED: August 20, 2021 By: _s/Joshua L. Thomas
Joshua L. [Thomas
Law Offices of Joshua L. Thomas, PLLC
Attorneys for Defendant
ZIP CAPITAL GROUP, LLC

 

{00156934;1} 3
STIPULATION FOR DISMISSAL WITH PREJUDICE
CASE NO. 2:20-cv-02099-TLN-AC

 
So DA NY HD A Fe WD NY

NO NO NO NH NH HN NH ND NHN HB He HF HF HF HF FO Fe eS
Co NO NW BRP We Ne KF CO OO Oo NT HoH nO BRP Ww NY KF CO

 

 

Case 2:20-cv-02099-TLN-AC Document 31 Filed 08/20/21 Page 4 of 4

CERTIFICATE OF SERVICE
I hereby certify that on August 20, 2021, a true and correct copy of the
foregoing document entitled STIPULATION FOR DISMISSAL WITH
PREJUDICE was filed through the ECF system, which will send notification of

such filing to the e-mail addresses associated with this case.

 

DATED: August 20, 2021 By: _s/Joshua L. Thomas
Joshua L. Thomas
Law Offices of Joshua L. Thomas, PLLC
Attorneys for Defendant
ZIP CAPITAL GROUP, LLC

 

{00156934:1} 4
STIPULATION FOR DISMISSAL WITH PREJUDICE
CASE NO. 2:20-cv-02099-TLN-AC

 
